833 F.2d 310Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Alvin Eugene MCSWAIN, Plaintiff-Appellant,v.Nathan RICE, Gary T. Dixon, Kenneth W. Harris, RobertSeymorn, John Acree, Lt., Lt. Bobbie, Sgt. Walker,Carl Joyner, Sued Individually and intheir official capacity,Defendants-Appellees.
    No. 87-6128.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 30, 1987.Decided Nov. 6, 1987.
    
      Alvin Eugene McSwain, appellant pro se.
      Tiare Bowe Smiley, Office of Attorney General, for appellees.
      Before DONALD RUSSELL, K.K. HALL, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal from its order refusing relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  McSwain v. Rice, C/A No. 86-869-CRT (E.D.N.C. Aug. 4, 1987).
    
    
      2
      AFFIRMED.
    
    